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Re: [EXTERNAL] Re: [EXTERNAL] Re: Edward Lang, 76480-054

Fri 12/2/2022 7:38 AM
To: Hoang Quan <hq801@proton.me>

Cc: metcalflawnyc@gmail.com <metcalflawnyc@gmail.com>
Bcc: Bower, Joshua (BOP) EE Rina Dallas (80?) a

Mr. Quan,

Please advise which law firm or attorney you work for and in what capacity. Only licensed attorneys who
have been verified by our office can participate in video legal visits. Mr. Metcalf is the only attorney we
have in our system.

Video legal visits must be made by the attorney or a verified and cleared paralegal. You have not yet
been cleared or verified as a representative through the completion of the previously provided
documents. Until that occurs, any visits you have currently scheduled will not go forward.

With respect to discovery, information is outlined in the previously provided document for providing
electronic discovery to an inmate. Electronic discovery can be sent in on disc after completing the
attorney completes the authorization form. The institution has discovery computers on the housing
units for inmate use. Institution laptops are also available for legal visits.

Best,

Jennifer K. Knepper
Supervisory Attorney

USP Lewisburg

2400 Robert F. Miller Drive
Lewisburg, PA 17837

Fax:

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From: Hoang Quan <hq801@proton.me>
Sent: Friday, December 2, 2022 12:26 AM

To: Knepper, Jennifer (BOP)

Cc: metcalflawnyc@gmail.com <metcalflawnyc@ gmail.com>
Subject: [EXTERNAL] Re: [EXTERNAL] Re: Edward Lang, 76480-054

Dear Ms. Knepper,
Attorney Paulette Pagan will be with me on Friday's call.
Mr. Metcalf will be in most of the sessions. And Mr. Silberman on the remaining sessions.

Would you advise on the availability of a laptop or tablet that can be used for discovery by Mr. Lang and what
forms must be filled out?

Thank you,
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Hoang Quan

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------- Original Message -------
On Thursday, December 1st, 2022 at 11:32 AM, Knepper, Jennifer (BOP) ae |:

Mr. Quan,

| appreciate the amount of work that goes into litigation defense; however, we also have to
ensure access to the other inmates who require legal visits and court appearances. Counsel
is afforded the ability to contact inmates in writing, in person, or via telephone. Inmate Lang
can also receive discovery at the facility to review at his convenience.

Until we have received the completed documentation, we cannot accommodate further
video visit requests unless Mr. Metcalf or another licensed attorney is present. Please have
Mr. Metcalf advise whether he will be present for the visit requests scheduled for 12/2,
12/5, 12/6, 12/7, and 12/8. Please note those visits will last one hour.

Best,

Jennifer K. Knepper
Supervisory Attorney

USP Lewisburg

2400 Robert F. Miller Drive
Lewisburg, PA 17837

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From: Hoang Quan <hq801@proton.me>
Sent: Thursday, December 1, 2022 1:15 PM

To: Knepper, Jennifer (BOP) ee

Cc: metcalflawnyc@gmail.com <metcalflawnyc@gmail.com>
Subject: [EXTERNAL] Re: Edward Lang, 76480-054

Dear Ms. Knepper,

| understand your concerns and will get with Mr. Metcalf to provide you with my personal
information for the BOP's required background checks,
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Mr. Lang's legal team is up against extremely tight deadlines for motions and trial preparation.
There is a mountain of evidence to wade through and investigations to be conducted on behalf
of Mr. Lang. We cannot afford to forgo any preparation time with Mr. Lang leading up to his trial
which is in less than six months.

I hope you understand the urgency and the volume of work that we need to push through for Mr.
Lang and grant Mr. Lang the legal access that he requires.

Sincerely,
Hoang Quan

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connen= Original Message -------

On Thursday, December 1st, 2022 at 8:24 AM, Knepper, Jennifer (BOP)
rE ..:::

Mr. Metcalf,

I'm contacting you concerning legal video visits scheduled with inmate Edward
Lang at USP Lewisburg.

Our protocols permit one hour video visits daily, with requests for additional
time to be submitted in advance. Hoang Quan, who states he is your Senior
Paralegal and represented he was setting up video visits on your behalf, has
scheduled visits with Mr. Lang daily for 3-4 hours each. Per our protocol, a copy
of which is attached, the visits will only be scheduled for one hour unless
approved in advance. Typically, an imminent court deadline is the reason for
such an extension.

Additionally, it has come to my attention that Mr. Quan is conducting these
meetings without you or another attorney present. We've attempted to reach
Mr. Quan at your office without success. In order for Mr. Quan to engage in
legal video visits on your behalf, he will need to complete the attached NCIC
before any further visits can occur. In addition, you and Mr. Quan will need to
complete the attached legal representative form to permit Mr. Quan to act as
your representative.

Please let me know if you have any questions.

Best,
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Jennifer K. Knepper
Supervisory Attorney

USP Lewisburg

2400 Robert F. Miller Drive

—— PA 17837

rox:

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